           Case 19-30661           Doc 18       Filed 08/23/19 Entered 08/24/19 00:48:53                         Desc Imaged
                                               Certificate of Notice Page 1 of 3
                                             United States Bankruptcy Court
                                          Western District of North Carolina
In re:                                                                                                     Case No. 19-30661-ltb
Franklin Leon Jackson                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0419-3                  User: admin                        Page 1 of 2                          Date Rcvd: Aug 21, 2019
                                      Form ID: pdf                       Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 23, 2019.
db              Franklin Leon Jackson,    1917 Waters Trail Drive,     Charlotte, NC 28216-8834
5937623        +American Homes,    16905 Northcross Drive,    Huntersville, NC 28078-5017
5937624        +AutoMoney, Inc of Rock Hill,     128 N. Anderson Road,    Rock Hill, SC 29730-3335
5937625        +EnerBank,   1245 Brickyard Road,     Suite 600,    Salt Lake City, UT 84106-2562
5943613        +EnerBank USA,    1245 East Brickyard Road, Suite 600,     Salt Lake City, UT 84106-2562
5937626       ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,     1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: Fifth Third Bank,       Post Office Box 639998,    Cincinnati, OH 45263)
5937627        +First Premier,    P.O. Box 5529,    Sioux Falls, SD 57117-5529
5937628         First Premier Bank,    P.O. Box 5147,    Sioux Falls, SD 57117-5147
5938426         North Carolina Department of Revenue,     Bankruptcy Unit,    P.O. Box 1168,
                 Raleigh, NC 27602-1168
5937631        +North Carolina Department of Revenue,     PO Box 1168,    Raleigh, NC 27602-1168
5937632        +Novant Health,    PO Box 1259,    Dept # 130626,    Oaks, PA 19456-1259
5957545         Novant Health,    PO Box 1123,    Minneapolis, MN 55440-1123
5956825        +PHH Mortgage,    1 Mortgage Way, Mail Stop SV-22,     Mount Laurel, New Jersey 08054-4637
5937633        +PHH Mortgage,    P.O. Box 5452,    Mount Laurel, NJ 08054-5452
5937634        +Shapiro & Ingle,    10130 Perimeter Parkway, Suite 400,     Charlotte, NC 28216-0034
5937635        +Sharon Jackson,    1917 Waters Trail Drive,     Charlotte, NC 28216-8834
5939240         The Charlotte-Mecklenburg Hospital Authority,      P.O. Box 71108,   Charlotte, NC 28272-1108
5937636        +U.S. Attorney,    Bankruptcy Division,    227 W. Trade St,    #1650,    Charlotte, NC 28202-1698
5937637        +U.S. Attorney General,    9001 Mail Service Center,     Raleigh, NC 27699-9000
5937638        +United States Attorney,    Federal Courthouse Rm 233,     100 Otis Street,
                 Asheville, NC 28801-2608

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
5958393        +E-mail/PDF: EBN_AIS@AMERICANINFOSOURCE.COM Aug 21 2019 18:35:31
                 AT&T CORP by American InfoSource as agent,   4515 N Santa Fe Ave,
                 Oklahoma City, OK 73118-7901
5937629         E-mail/Text: cio.bncmail@irs.gov Aug 21 2019 18:32:11      Internal Revenue Service,
                 Centralized Insolvency Operation,   PO Box 7346,   Philadelphia, PA 19101-7346
5951791         E-mail/Text: JCAP_BNC_Notices@jcap.com Aug 21 2019 18:32:38      Jefferson Capital Systems, LLC,
                 PO Box 7999,   St Cloud, MN 56302-9617
5937630         E-mail/Text: taxbk@mecklenburgcountync.gov Aug 21 2019 18:32:35
                 Mecklenburg County Tax Collector,   PO Box 71063,    Charlotte, NC 28272-1063
5950681        +E-mail/Text: JCAP_BNC_Notices@jcap.com Aug 21 2019 18:32:38      Premier Bankcard, LLC,
                 PO Box 7999,   St Cloud, MN 56302-7999
5950680        +E-mail/Text: JCAP_BNC_Notices@jcap.com Aug 21 2019 18:32:38      Premier Bankcard, LLC,
                 Jefferson Capital Systems, LLC Assignee,   PO Box 7999,    St. Cloud, MN 56302-7999
                                                                                             TOTAL: 6

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                PHH Mortgage Corporation
5938425*         +Internal Revenue Service,   P.O. Box 7317,   Philadelphia, PA 19101-7317
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 23, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                             Form ID: pdf                 Total Noticed: 26


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 21, 2019 at the address(es) listed below:
              Beth Carter    on behalf of Debtor Franklin Leon Jackson Beth@BBCarterlaw.com,
               bbcecf@gmail.com;carterbr72456@notify.bestcase.com
              Warren L. Tadlock,   wtadlock@ch13clt.com
              Whitney Graybeale Maxwell   on behalf of Creditor   PHH Mortgage Corporation wmaxwell@logs.com
                                                                                             TOTAL: 3
     Case 19-30661                 Doc 18              Filed 08/23/19 Entered 08/24/19 00:48:53              Desc Imaged
                                                      Certificate of Notice Page 3 of 3
                FILED & JUDGEMENT ENTERED
                          Steven T. Salata




                  August 21, 2019

                  Clerk, U.S. Bankruptcy Court
                 Western District of North Carolina




                                                   UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF NORTH CAROLINA
                                                          CHARLOTTE DIVISION

IN RE:
          Franklin Leon Jackson                                                         Chapter 13
                                                                                        CASE NO: 19-30661
          SSN#: XXX-XX-4446

                                                            ORDER CONFIRMING PLAN
THIS CAUSE COMING ON FOR HEARING BEFORE THE UNITED STATES BANKRUPTCY COURT for consideration of a Chapter 13
plan proposed by the above-referenced debtor and upon the recommendation of the Chapter 13 trustee, the Court hereby finds and
concludes as follows:

1. The debtor has proposed a plan, including all pre-confirmation modifications to the proposed plan as were filed, and including
any motions for valuation of security and lien avoidance as may be contained in the plan, all of which are incorporated by reference
herein.

2. Notice of the proposed plan, including any modifications to the plan and any motions as referenced hereinabove, was properly
given to all necessary parties in interest.

3. The proposed plan, with any modifications and motions included in the proposed plan, complies with all applicable provisions of
the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

    Based upon the foregoing, IT IS HEREBY ORDERED as follows:

1. The proposed plan of the debtor, with any modifications, is CONFIRMED.

2. Any motions for valuation of security and/or lien avoidance are GRANTED.

3. The trustee shall receive and disburse funds pursuant to the terms of the confirmed plan, applicable provisions of title 11, U.S.C.,
and any relevant administrative orders of the Court now in effect and that may be entered in the future.

4. All Real Property Creditors who receive Conduit Payments from the Trustee shall Credit the First Conduit Payment as follows:
         PHH MORTGAGE CORPORATION                                         August 2019                  Court Claim #9

  Any party in interest who objects to this Disbursement Credit Date shall file such objection with the Clerk of Court within fifteen (15)
days of the date of entry of this order. The Court shall schedule a hearing with notice to all affected parties in interest on any such
objections that are timely filed.

5. The plan payments and term are $2,070.00 monthly for 60 months.

6. Subject to review of plan regarding loan modification in nine (9) months.
Plan Summary Docket #(s): 3, 13,15

This Order has been signed electronically, pursuant                  to          Laura T. Beyer
administrative order of the Court. Effective as of date of entry.                UNITED STATES BANKRUPTCY COURT JUDGE
